      Case 4:18-cv-01575 Document 17 Filed on 08/24/18 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                            UNITED STATES DISTRICT COURT                             August 24, 2018
                             SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                 HOUSTON DIVISION

VICTORIA HALL,                     §
                                   §
      Plaintiff,                   §
VS.                                §                       CIVIL ACTION NO. 4:18-CV-1575
                                   §
CREDITO REAL USA FINANCE, LLC; dba §
AFS ACCEPTANCE, LLC,               §
                                   §
      Defendants.                  §

                                    ORDER OF DISMISSAL


      In accordance with the Joint Stipulation filed on August 22, 2018 (Doc # 16), it is hereby

ORDERED that this action be dismissed with prejudice, pursuant to Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure.




       It is so ORDERED. 08/24/2018.


                                               ___________________________________
                                               The Honorable Alfred H. Bennett
                                               United States District Judge




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